Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 1 of 20




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                 Case Number:__________________-CIV-_____________________
  AISHIA PETERSEN,

        Plaintiff,
  v.

  WOLFORD AMERICA INC.,

         Defendant.

  ________________________________/

                      COMPLAINT FOR PERMANENT INJUNCTIVE RELIEF

                COMES NOW, Plaintiff Aishia Petersen (“Plaintiff “or “Petersen”), by and

  through undersigned counsel, files this Complaint for Permanent Injunctive Relief pursuant to Title

  III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189

  (“ADA”), 28 U.S.C. §2201 and 2202 as well as 28 CFR Part 36 Regulations. Plaintiff state as

  follows:

                          INTRODUCTION AND NATURE OF THE ACTION

                 1. This Court has jurisdiction over this case based on federal question Jurisdiction,

  as provided in 28 U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

                 2. Plaintiff is a visually-impaired and legally blind person (disabled) who requires

  assistance through screen-reading software to read website content using his computer. Plaintiff

  uses the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

  Amendment acts of 2008, 42 USC §12101 (ADAAA).




                                                   1
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 2 of 20




                  3. Defendant’s website https://www.wolfordshop.com specifically the Florida

  website (the “Website” or “E-commerce application”) is not fully or equally accessible to blind

  or visually impaired consumers in violation of the “ADA.” As a result, Plaintiff seeks a permanent

  injunction to cause a change in WOLFORD America Inc. (“Defendant” or “WOLFORD”)

  policies, practices and procedures so that Defendant’s website will become, and remain,

  accessible to blind. Plaintiff seeks injunctive relief, attorneys’ fees and costs, including, but not

  limited to, court costs and expert fees, pursuant to Title III of the Americans with Disabilities Act

  of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”) and 42 U.S.C. 2000a-3(a). See also

  28 U.S.C. 2201 and 2202 as well as ADA 28 CFR Part 36 Regulations.

                  4. Plaintiff is unaware of the true names, identities, and capacities of all responsible

  parties (defendants) being sued. Plaintiff will seek leave to amend this complaint to allege the

  true names and capacities if and when ascertained. Plaintiff is informed and believes, and

  thereupon alleges, that Defendant is legally responsible in some manner for the events and

  happenings alleged herein and that Defendant sued here proximately caused injuries and damages

  to Plaintiff as set forth below.

                  5. Plaintiff is sui juris, and she is disabled as defined by the ADA and ADA

  Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design, build,

  maintain, and operate its https://www.wolfordshop.com to be fully and equally accessible to and

  independently operational by Plaintiff, constitutes in Defendant’s denial of full and equal access

  to physical stores and Website, resulting in a violation of Plaintiff’s rights under the Americans

  with Disabilities Act (“ADA”).




                                                     2
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 3 of 20




                   6. Defendant’s website is a point of sale for the Defendant physical store. The

  Defendant’s e-commerce platform (https://www.wolfordshop.com the “Website”) allows

  purchase of the same merchandise online or at the brick-mortar store.

                   7. The Defendant owns and operates the Website for desktop and mobile

  application for e-commerce and several clothing stores that are located in Florida.

                   8. Because Defendant is a store open to the public, each of Defendant’s physical

  stores is a place of public accommodation subject to the requirements of Title III of the ADA, 42

  U.S.C. §12182, §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

                   9. Plaintiff Aishia Petersen, a blind woman, residing in Orlando, Florida brings

  this action under the Americans with Disabilities Act in Federal Court.

                   10. Blind and visually impaired citizens must use screen reading software 1 or other

  assistive technologies in order to access website content.

                   11. Plaintiff cannot use his computer and mobile device browser without the

  assistance of appropriate and available screen reader software to understand websites.

                   12. Defendant’s Website is built in digital code that impedes screen-reader

  software to work. A few lines of code could make the Defendant’s website compatible with the

  popular blind’s screen-readers software and grant access to Defendant’s store to all blind

  individuals, including Plaintiff.

                   13.Screen reader software translates the visual internet into an auditory equivalent.

  which vocalizes visual information found on the computer screen. With this software, Plaintiff

  has successfully used more than 400 websites.


  1
    “screen reader” is a software application that enables people with severe visual impairments to use a computer.
  Screen readers work closely with the computer's Operating System (OS) to verbalize information about icons, menus,
  dialogue boxes, files and folders.


                                                          3
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 4 of 20




                 14. The software reads the content of a webpage to the user. The screen reading

  software uses auditory cues to allow a visually impaired user to effectively navigate the websites.

                  15. Plaintiff visited the Website when at home, or on the go or in transit when

  visiting other cities. The purpose of the Website is to turn visitors into prospects. One of the

  functions of the Defendant’s Website is to provide the public information on the locations of

  Defendant’s stores through a “store locator” feature. Defendant also sells to the public its

  merchandise through the Website, which acts as a point of sale for Defendant’s merchandise

  available in, from, and through Defendant’s physical stores.

                 16. This case arises out of the fact that Defendant WOLFORD America Inc has

  operated its business in a manner and way that effectively excluding Plaintiff who are visually

  impaired from access to Defendant physical stores and online store (the Website). Because the

  Website, an e-commerce online platform, carries the same products in the physical store and

  connects individuals to make a purchase on the Website 24/7, the same way they would in the

  physical store (during limited hours 10am to 8pm). The Website has a nexus to and is an extension

  of and gateway to the Defendant’s physical stores.

                 17. Because the public can view and purchase Defendant’s goods through the

  Website that are also offered for sale in Defendant’s physical stores, thus having the Website act

  as a point of sale for Defendant’s products that are also sold in the physical stores, arrange in-

  store and curbside pickups of merchandise purchased online benefits for use online and in the

  physical stores, the Website is an extension of and gateway to the physical stores, which are places

  of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E).

                 18. Even if the Website is not itself a place of public accommodation the

  Defendant’s physical stores are a place of public accommodation under 42 U.S.C. §12181(7)(E),



                                                   4
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 5 of 20




  and must comply with all requirements of the ADA. The Website is an extension and a necessary

  service, privilege, and advantage of the Defendant’s physical stores. Defendant must not

  discriminate against individuals with visual disabilities, and must not deny those individuals the

  same full and equal access to and enjoyment of the goods, services, privileges, and advantages

  afforded the non-visually disabled public both online and in the physical stores.

                 19. As a result of Plaintiff being legally blind, before she embarks on any venture

  from his home, Plaintiff studies the location where Plaintiff is seeking to patronize through using

  the internet. Plaintiff has made innumerous attempts to access Defendant’s physical store and

  Website in the past, but Plaintiff could not locate the nearest store thru the website neither pre-

  shop the Defendant’s merchandise because the Website is not readable by the screen-reader.

                 20. Plaintiff intends to continue to access the Defendant’s physical store and make

  a purchase thru the Website and pick up at curbside or just pre-shop. Plaintiff was informed that

  there is one of the Defendant’s physical store near Plaintiff’s area, located at 9700 Collins Ave,

  Bal Harbour, Florida 33180.

                 21. Plaintiff is and has been a customer who is interested in patronizing and intends

  to patronize in the near future Defendant’s physical stores once the Website’s access barriers are

  removed or remedied. The barriers Plaintiff encountered on Defendant’s website have impeded

  Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s brick-and mortar

  stores.

                 22. In the alternative, Plaintiff intends to monitor the Website in the near future,

  as a tester, to ascertain whether the Website has been updated and remedied to work properly with

  screen-readers.




                                                   5
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 6 of 20




                 23. Before Plaintiff visited Defendant’s physical store, Plaintiff needs to visit the

  store online, because the opportunity to shop and pre-shop Defendant’s products from Plaintiff’s

  home are important accommodations for Plaintiff; because as a visually disabled individual

  Plaintiff plans his outings in advance.

                 24. Plaintiff is impeded to access and communicate with Defendant effectively,

  unable to take advantage and use the Website to pre-shop and purchase Defendant’s merchandise,

  to arrange in-store and curbside pickups of merchandise purchased online, create an account and

  sign up for an electronic emailer to receive exclusive online offers, benefits, invitations, and

  discounts for use both online and in the physical stores.

                 25. The privilege to navigate the Website from Plaintiff’s home is important and

  necessary accommodations for Plaintiff because traveling outside of his home as a visually

  disabled individual is an often challenging and fearsome experience. Defendant’s failure to

  provide auxiliary aids and services for effective communications is an act of discrimination

  against Plaintiff. Title III ADA 28 C.F.R. § 36.303.

                 26. However, unless Defendant is required to eliminate the access barriers at issue

  and required to change its policies so that access barriers do not reoccur on Defendant’s Website,

  Plaintiff will continue to be denied full access to WOLFORD’s physical stores and online e-

  commerce platform (the Website).

                                   JURISDICTION AND VENUE

                 27. This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief pursuant

  to 28 U.S.C. §§2201 and 2202.

                28. Defendant has shops in the State of Florida. Defendant conducts and continues to

  conduct a substantial and significant amount of business in this District.

                                                    6
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 7 of 20




                 29. Venue is proper pursuant to 28 U.S.C. §1391, in the Southern District of Florida

  where defendant resides and a substantial part of the events giving rise to the claims occurred.

  Personal jurisdiction exists when the Defendant purposefully availed itself of the conducting

  activities within the forum State.

                 30. Plaintiff’s claims asserted herein arose in this judicial district. Plaintiff was

  visiting Miami when was informed that there is a Wolford’s shop near him. Plaintiff called

  Defendant’s customer service for more information but was directed to the Website to search in

  the store locator.

                  31. Plaintiff is a resident of Orlando, FL 32817. is sui juris, and is disabled as

  defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”).

                 32. This is an action injunctive relief pursuant to Title III of the Americans with

  Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 C.F.R. § 36.201 and to prevent

  discrimination which includes equal access and effective communications with Defendant’s

  business. This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343.

                 33. Defendant is subject to personal jurisdiction in this District. Defendant has been

  and is committing the acts or omissions alleged herein in the Southern District of Florida that

  caused injury, and violated rights prescribed by the ADA to Plaintiff. A substantial part of the acts

  and omissions giving rise to Plaintiff’s claims occurred in the Southern District of Florida.

  Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment of

  the facilities, goods, and services of Defendant’s Website in Florida. The access barriers Plaintiff

  encountered on Defendant’s Website have caused a denial of Plaintiff’s full and equal access

  multiple times in the past, and now deter Plaintiff on a regular basis from accessing Defendant’s

  Website. Defendant WOLFORD America Inc is authorized to conduct, and is conducting, business

  within the State of Florida and within the jurisdiction of this court.

                                                     7
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 8 of 20




                                           THE PARTIES

                 34. Plaintiff Aishia Petersen, is a resident of the State of Florida. Plaintiff resides

  in Orlando. Aishia Petersen is legally blind, and a member of a protected class under the ADA.

  Whereby, she has a disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations

  implementing the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h).

  Plaintiff was diagnosed with congenital glaucoma in both eyes by UM Health- Bascom Palmer

  Eye Institute, and consequently, is legally blind and the visual disability is permanent. Plaintiff is

  a legally blind individual who has a physical impairment that substantially limits the major life

  activity of seeing. Accordingly, she has a disability within the meaning of 42 U.S.C. § 12102 and

  28 C.F.R. § 35.104. Plaintiff is a qualified individual with a disability within the meaning of 42

  U.S.C. § 12131(2), 29 U.S. Code § 794 and 28 C.F.R. § 35.104.

                 35. Plaintiff cannot use the computer without the assistance of a screen reader

  software. Petersen is a proficient user of the JAWS and Voiceover screen-reader to access the

  internet." JAWS, or "Job Access With Speech," Voiceover (Apple’s screen reader) or Voiceover

  (Apple’s screen reader) are the most popular screen reading software for computers and mobile

  phones. For screen-reading software to work, the information on a website must be capable of

  being rendered into text. Usually, this means that graphics and embedded hyperlinks must include

  alternative text (known as "alt-text")—a description of the image that appears when a cursor floats

  over it or screen-reading software detects it.

                 36. WOLFORD America Inc is a Foreign Profit Corporation from New York.

  Defendant is the owner and operator of a chain of hundreds of fashion clothing stores under the

  brand name WOLFORD. The WOLFORD America Inc company produces and distributes fashion

  clothing to its shops and distributors in Florida.



                                                       8
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 9 of 20




                 37. Upon information and belief, at all times material hereto, Defendant

  WOLFORD Inc owns, operates, and/or manages the day-to-day affairs of WOLFORD fashion

  stores which are operating within the State of Florida. Defendant’s store are public

  accommodations pursuant to 42 U.S.C. § 12181(7)(E).

                 38. Plaintiff believes, and thereon alleges, that defendant WOLFORD America Inc

  corporate and affiliates and/or related entities, actively engaged in the sale of apparel in various

  states throughout the country, including Florida.

                 39. Said Defendant entities will hereinafter collectively be referred to as

  “WOLFORD” or, where appropriate, “Defendant.”

                                               FACTS

                 40. Defendant is defined as a “Place of Public Accommodation" within meaning of

  Title III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery

  store, clothing store, hardware store, shopping center, or other sales establishment,” 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(5).

                 41. Each of Defendant WOLFORD stores are open to the public and each is a Place

  of Public Accommodation subject to the requirements of Title III of the ADA and its implementing

  regulation as “[A] … other sales establishment,” as defined by 42 U.S.C. §12181(7)(E); §12182,

  and 28 C.F.R. Part 36.

                 42. WOLFORD offers fashion clothing and accessories for sale to the general

  public.

                 43. Defendant has control over several points of sale including the Website, its

  content, design and source-code, and/or operates his web pages, including image and data content.




                                                   9
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 10 of 20




  Defendant owns and operate the domain name https://www.wolfordshop.com that is configured

  for use by desktop computer and mobile devices such as smartphones.

                  44. One of the functions of Defendant’s Website (available to browse in mobile or

  computer desktop version) is to provide the public information on the various locations of

  Defendant’s stores that sell fashion clothing and accessories. The other function of the website is

  to sell Defendant’s products.

                  45. Defendant’s Website is offered by Defendant as a way for the public to

  communicate with WOLFORD’s fashion products. Defendant’s Website also permits the public

  to register and create an account allows the general public to order and purchase fashion clothing

  merchandise, provides: customer service and locate a shop.

                  46. Blind Plaintiff needs to plan his outgoings since at the physical store it is

  difficult to know the prices, price tags are not in Braille. Like innumerous customers, Plaintiff

  rather to accesses Defendant’s Website, since online purchase is faster or at least pre-purchase

  before Plaintiff goes to the store. Plaintiff has a concrete plan of visiting the store because Plaintiff

  admires the quality of Defendant’s products and would like to buy it in a regular basis.

                  47. Plaintiff is a customer of WOLFORD stores since his intent to continue visiting

  a WOLFORD clothing store near his home. Plaintiff through his inquiries learned that there are

  some WOLFORD’s stores in his area.

                  48. During the month of April 2022, on several occasions, Plaintiff was denied

  access to Defendant’s website, because the Website was incompatible to screen-reader software.

  Plaintiff explains that the Website contains the following access barriers that prevents him from

  free and full use of screen reader software. Plaintiff encountered these barriers that are persistent

  and include, but are not limited to:



                                                     10
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 11 of 20




  a. It is difficult for Plaintiff to find the “Store Locator” link in the first page at the bottom; when

  in the “Store Locator” page, the different location addresses are not readable with screen-reader.

  All address announces the same: “Details”, instead to announce the city and state so Plaintiff can

  find the nearest store to his location. The issue was posted at https://youtu.be/UL0JMZcNgfA.

  b. Links must have a discernible text, but several links have no label or same ID label. See at

  https://youtu.be/QBW_gDY0Dvc.

  c. At the product page the name, and price of the product is skipped, and goes straight to add to

  Wishlist and “Add to Bag”. The quantity increment and decrement fields on the product page do not

  have labels. Users do not hear that they are on the Quantity field, instead, they hear "button" repeated

  for each control Also, the images and thumbnails in the product page have no alt-id label

  description.   So,    Plaintiff    does    not   know     for   sure    what    he      is    purchasing.

  https://youtu.be/DdpjR32ML_g.

  d.   Suppose     Plaintiff   was    able    to   “Add     to    Bag”    the    “thong        body”   item

  (https://www.wolfordshop.com/collections/bestsellers/colorado-thong-body/71187.1051.html), a

  pop-up window (on the right side) appears in the screen “Item added to your basket” but is NOT

  announced thus Plaintiff cannot checkout because the screen-reader cannot find the checkout

  window neither the button, since the pop window has no Focus. So, Plaintiff is again unable to

  complete the purchase. Watch https://youtu.be/WJNbHhv-Cv4.

  e. The "Wolford Private shopper" chat icon is not in the tab index, so it is skipped when navigating

  with the Tab key. Also, the feature Skip navigation to main content is not available.

  f. Homepage has three banners in carrousel, but it has no audio “Our Hottest, Back in stock, New

  in Swim” neither the images neither the links have audio, it adds to confusing because the website

  is not fully accessible. The issues were recorded and posted at https://youtu.be/xO2cGRAwUQA.

  g. at Checkout the remove item icon announces “javascript”. So Plaintiff cannot remove an item.

                                                    11
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 12 of 20




                 49. Due to these barrier Plaintiff was unable and impeded to access: Plaintiff was

  unable to learn (1) Defendant’s store locations open in his area; (2) the cost of Defendant’s

  products; (3) make a purchase on the Website and pick up at curbside or at the nearest

  WOLFORD’s stores; (4) get the exclusive online deals; (5) register online (create an account); and

  (6)product pricing and finalizing an online purchase. Thus, Defendant’s Website creates an

  intangible barrier that prevents Petersen from “’accessing a privilege’ of a physical place of public

  accommodation, where Plaintiff cannot locate the defendant’s store, pre-purchase or make a

  purchase to pickup at the store.

                 50. Plaintiff was unable to find an Accessibility Statement or notice to assist him

  navigate the Defendant’s website. During due diligence an expert was consulted and found 18

  unique issue-barriers under the WCAG=World Content Accessibility Guidelines, just in one page

  of the website, this website contains hundreds of code-lines that are incompatible with screen-

  readers, thus inaccessible to Plaintiff. (Attached Exhibit A)

                 51. During Plaintiff’s several visits to the website using JAWS and NVDA

  (computer) and Voiceover (cell-phone browsing) occurring on March 15, 2022 and the last on

  May 15, 2022, attempted to visit the physical store by checking the Website first, however the

  plaintiff encountered multiple access barriers that denied the plaintiff full and equal access to the

  facilities, goods and services offered to the public and made available to the public; and that denied

  the plaintiff the full enjoyment of the Defendant’s facilities, goods, and services.

                             AMERICAN WITH DISABILITIES ACT

                 52. The failure to access the information needed precluded Plaintiff’s ability to

  patronize WOLFORD ‘s stores because, as a blind individual, Plaintiff needs to plan his outings




                                                   12
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 13 of 20




  out in detail in order to have the proper financing for a venture, and ensure that Plaintiff arrives at

  a given location.

                  53. Under Title III of the ADA, 42 U.S.C. §§ 12181–12189 (“Title III”), which

  addresses “Public Accommodations and Services Operated by Private Entities.” Title III provides

  that “[n]o individual shall be discriminated against on the basis of disability in any place of public

  accommodation.” 42 U.S.C. § 12182(a).

                  54. Title III provides that “no individual shall be discriminated against on the basis

  of disability” in “any Place of Public Accommodation.” 42 U.S.C. § 12182(a). As defined in Title

  III, the term “public accommodation” includes a “store and sales establishment” Id. § 12181(7)(E).

  Defendant WOLFORD America Inc. owns and operates stores, WOLFORD.

                 55. On March 18, 2022, The Department of Justice issued Web Accessibility

   Guidance under the Americans with Disability Act. It explains how businesses open to the public

   (entities covered by ADA Title III) can make sure their websites are accessible to people with

   disabilities in line with the ADA’s requirements.2 (Exhibit B). The guidance discusses the

   importance of web accessibility, barriers that inaccessible websites create for people with

   disabilities, tips on making web content accessible and applied the Web Content Accessibility

   Guidelines (“WCAG”) 2.1 to determine accessibility. See https://www.justice.gov/opa/pr/justice-

   department-issues-web-accessibility-guidance-under-americans-disabilities-act.

                  56. Binding Court acknowledged that Title III’s public accommodation protection

   “covers both tangible and intangible barriers, such as screening rules or discriminatory

   procedures that restrict a disabled person’s ability to enjoy the defendant entity’s services and

   privileges.

   ____________________



                                                    13
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 14 of 20



  2.“We have heard the calls from the public on the need for more guidance on web accessibility, particularly as our
  economy and society become increasingly digitized,” said Assistant Attorney General Kristen Clarke for the Justice
  Department’s Civil Rights Division. “.See https://www.justice.gov/opa/pr/justice-department-issues-web-
  accessibility-guidance-under-americans-disabilities-act



                   57. Technology evolves, in these days, for consumers and business. Consumers are

  doing most of their shopping online. And business are seeing higher revenue from their online

  point of sales then their physical stores, based on business financial disclosures. Defendant’s

  provision of an e-commerce Website, which is the main point of sale, distribution, and revenue for

  Defendant’s business. The Website is an intangible, but essential part of the Defendant’s services

  and privileges offered by the Defendant’s stores to their customers to access Defendant’s goods.

                   58. Title III ADA Part 36 regulation was amended to integrate section 36.303

  Auxiliary Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and

  services where necessary to ensure effective communication with individuals with disabilities.”

                   59. The access barriers Plaintiff encountered on Defendant’s website have caused

  a denial of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a

  regular basis from accessing Defendant’s Website.

                   60. Plaintiff would like to become Defendant’s patron and access the Defendant’s

  physical store and the Website in the near future but the barriers Plaintiff encountered on

  Defendant’s Website has impeded Plaintiff’s full and equal enjoyment of goods and services

  offered at Defendant’s brick-and mortar stores.

                   61. The fact that Plaintiff could not access the Defendant’s Website and could not

  comprehend the electronic pages contained therein, left Plaintiff excluded from accessing

  WOLFOR’s stores, goods and services available from Defendant and further left him with the

  feeling of segregation, rejection, isolation, and unable to participate in a manner equal to that




                                                         14
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 15 of 20




  afforded to others who are not similarly disabled. As a result, Plaintiff has suffered particularized

  harm and an injury in fact.

                 62. Plaintiff cannot make proper arrangements for transportation of himself to the

  WOLFORD’s store locations without the ability to know in advance the WOLFORD’s goods and

  services which service is available online through Defendant’s Website. Plaintiff also faces a great

  degree of uncertainty of how to physically travel to Defendant WOLFORD ‘s store location.

  Plaintiff is effectively denied the ability to physically travel to Defendant WOLFORD’s store.

                 63. Plaintiff has a concrete plan to purchase WOLFORD’s clothing and accessories

  when she is treated like other members of the public. By denying Plaintiff the opportunity to

  comprehend WOLFORD’s Website therein due to Plaintiff’s disability (visual impairment),

  Defendant has denied Plaintiff the opportunity to participate in or benefit from Defendant’s goods

  and services as afforded to the public.

                 64. Plaintiff will suffer continuous and ongoing harm from Defendant’s omissions,

  policies, and practices set forth herein unless enjoined by this Court.

                 65. On information and belief, Defendant has not offered any form of Website in

  an accessible format for blind or visually impaired individuals.

                 66. Thus, Defendant has not provided full and equal enjoyment of the services,

  facilities, privileges, advantages, and accommodations provided at its stores and authorized

  retailers.

                 67.    All Public Accommodations must ensure that their Places of Public

  Accommodation provide Effective Communication for all members of the general public, including

  individuals with disabilities pursuant Title III ADA 28 C.F.R. § 36.303.




                                                   15
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 16 of 20




                 68. Binding case law increasingly recognize that private entities are providing

  goods and services to the public through their online point of sale which operates as “Places of

  Public Accommodation” under Title III.

                 69. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s

  website and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination

  due to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.

                 70. Plaintiff has no plain, adequate, or complete remedy at law to redress the

  wrongs alleged hereinabove and this suit for injunctive relief is his only means to secure adequate

  redress from Defendant’s unlawful and discriminatory practices.

                 71. Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

  2202.

                 72. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.

                 73. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to

  pay a reasonable fee for services in the prosecution of this cause, including costs and expenses

  incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

  Defendant WOLFORD.

     COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

                 74. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle of Title III of the ADA, which prohibits discrimination on the basis of disability by Public

  Accommodations and requires Places of Public Accommodation to be designed, constructed, and

  altered in compliance with the accessibility standards established by Part 36 Regulation.



                                                   16
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 17 of 20




                 75. Defendant’s Website has not been designed to interface with the widely and

  readily available technologies for blinds that can be used to ensure effective communication.

                 76. As delineated above and pursuant to 42 U.S.C. §12181(7)(E), Defendant is a

  Public   Accommodation       under    the   ADA       because   it   owns   and/or    operates   the

  https://www.wolfordshop.com website which is defined within §12181(7)(E), and is subject to the

  ADA.

                 77. No notice is required because under Title III of the ADA, 42 U.S.C. §

  12182(b)(1)(A)(II), it is unlawful discrimination to deny individuals with disabilities or a class of

  individuals with disabilities an opportunity to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

  to other individuals.

                 78. Unlawful discrimination includes “a failure to make reasonable modifications

  in policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §

  12182(b)(2)(A)(II).

                 79. Unlawful discrimination also includes “a failure to take such steps as may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services, unless the entity can demonstrate that taking such steps would fundamentally alter the

  nature of the good, service, facility, privilege, advantage, or accommodation being offered or

  would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).



                                                   17
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 18 of 20




                 80. Defendant is in violation of the ADA by creating barriers for individuals with

  disabilities who are visually impaired and who require the assistance of interface with screen reader

  software to comprehend and access its Website. These violations are ongoing.

                 81. As a result of the inadequate development and administration of Defendant’s

  Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and §12188, also 28

  C.F.R. §36.501 to remedy the discrimination.

                 82. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff Petersen injunctive relief; including an order to:

                 a) Require Defendant take the necessary steps to make the Website readily

  accessible to and usable by visually impaired users, and during that time period prior to the

  https://www.wolfordshop.com website being readily accessible, to provide a temporary alternative

  method for individuals with visual impairments to access the information available on the Website

  until such time that the requisite modifications are made. Title III American with Disabilities Act

  Part 36 Regulation.

                 b) Require Defendant to provide periodic maintenance of the accessible website

  thru the appropriate auxiliary aids such that individuals with visual impairments will be able to

  always receive effectively communication with the Website for purposes of viewing and locating

  WOLFORD‘s stores and becoming informed of and signing up for WOLFORD’s clothing

  products online, and of viewing electronic documents provided to the public within Defendant’s

  Website.

                 c) During the time period prior to the Website’s being designed to permit

  individuals with visual impairments to effectively communicate, requiring Defendant to provide

  an alternative method for individuals with visual impairments to effectively communicate so they



                                                    18
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 19 of 20




  are not impeded from obtaining the goods and services made available to the public. Title III ADA

  Part 36 Regulation.

                 83. For all of the foregoing, the Plaintiff has no adequate remedy at law.

                                      DEMAND FOR RELIEF

                 WHEREFORE, Plaintiff Aishia Petersen hereby demands judgment against

  Defendant “WOLFORD AMERICA INC” and requests the following injunctive relief

  permanently enjoin Defendant from any practice, policy and/or procedure which will deny Plaintiff

  equal access to, and benefit from Defendant’s services and goods, as well as the Court:

                 a. That the Court issue a Declaratory Judgment that determines that the Defendant’s

  websites at the commencement of the subject lawsuit is in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. § 12181 et seq.;

                 b. That the Court enter an Order directing Defendant to continually update and

  maintain their computer version of the defendant’s websites to ensure that it remains fully

  accessible to and usable by visually impaired individuals;

                 c. That the Court issue an Injunctive relief order directing Defendant to alter their

  website to make it accessible to, and useable by, individuals with disabilities to the full extent

  required by Title III of the ADA;

                 d. That the Court enter an Order directing Defendant to evaluate and neutralize their

  policies and procedures towards persons with disabilities for such reasonable time so as to allow

  Defendant to undertake and complete corrective procedures;

                 e. Further requests the Court to retain jurisdiction for a period to be determined to

  ensure that Defendant has adopted and is following an institutional policy that will in fact cause

  Defendant to remain fully in compliance with the law;



                                                  19
Case 1:22-cv-21611-DPG Document 1 Entered on FLSD Docket 05/25/2022 Page 20 of 20




                 f. That the Court enter an award of attorney’s fees, costs and litigation expenses

  pursuant to 42 U.S.C. § 12205; and Title III of the ADA Section 36.505.



                                              Respectfully submitted,

  Dated this 25th day of May 2022.


                                               /s/Acacia Barros
                                               Attorney for Plaintiff
                                               ACACIA BARROS, P.A.
                                               Acacia Barros, Esq.
                                               FBN: 106277
                                               11120 N. Kendall Dr., Suite 201
                                               Miami, Florida 33176
                                               Tel: 305-639-8381
                                               ab@barroslawfirm.com




                                     CERTIFICATE OF SERVICE

               I hereby certify that on this 25th day of May, 2022 that the foregoing document has

  been filed     using CM/ECF          system and     will   be      served via     email    when

  Defendant/Defendant’s counsel enters an appearance.




                                                 20
